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 1                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
 2                                  EASTERN DIVISION
 3                                              )
         UNITED STATES OF AMERICA,              )   Case No. 17 CR 281
 4                                              )
                            Plaintiff,          )
 5                                              )
                     vs.                        )   Chicago, Illinois
 6                                              )   November 7, 2018
         CARLOS R. MEZA,                        )   9:31 a.m.
 7                                              )
                            Defendant.          )
 8
                         TRANSCRIPT OF PROCEEDINGS - Motion
 9                      BEFORE THE HONORABLE ELAINE E. BUCKLO
10
         APPEARANCES:
11
         For the Plaintiff:             MR. JOHN R. LAUSCH, JR.
12                                      United States Attorney
                                        BY: MR. RICK D. YOUNG
13                                           MS. KAITLIN KLAMANN
                                        Assistant United States Attorneys
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                                        5th Floor
15                                      Chicago, Illinois 60604
16       For the Defendant:             MR. JOSHUA B. KUTNICK
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18
19
20
21
         Court Reporter:                SANDRA M. MULLIN, CSR, RMR, FCRR
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25
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 1             (Proceedings heard in open court:)
 2                   THE CLERK: Calling 17 CR 281-1, USA versus
 3       Carlos R. Meza.
 4                   MR. YOUNG: Good morning, your Honor. Rick Young
 5       and Kaitlin Klamann on behalf of the United States.
 6                   THE COURT: Good morning.
 7                   MR. KUTNICK: Good morning, your Honor. Joshua
 8       Kutnick on behalf of Carlos Meza, who is present here to my
 9       right.
10                   THE COURT: Good morning.
11                   MR. KUTNICK: Good morning, your Honor.
12                   THE COURT: Well, I don't think much of your
13       motion.
14                   MR. KUTNICK: Your Honor, I -- I was reluctant to
15       file the motion, given the time that the court had given me
16       previously. I felt I had no choice, given the situation we
17       were in in terms of discovery and the expert witness and my
18       time. I very much want to do an excellent job for Mr. Meza.
19       I have been spending the last months learning and being
20       familiar with the government's case.
21                   THE COURT: You were appointed in August of 2017.
22                   MR. KUTNICK: Your Honor, and then -- I've also been
23       appointed on many, many other cases in the meantime.
24                   THE COURT: I indicated last time, you know, I
25       mean, a responsibility, if you're going to be a panel
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 1       attorney, is to not take over -- is to not take on too many
 2       cases. And otherwise, you know, I don't think you can be a
 3       panel attorney if you're going to not be responsible. And
 4       being responsible doesn't mean letting a case go on for
 5       years. You're the one that said you would be ready -- after
 6       I extended it last time, that you would be ready in November.
 7       Trying to work out dates, it ended up the beginning of
 8       December. You told me at the time exactly what cases that
 9       you had. Somehow they don't seem to correspond with what you
10       actually now say that you've been doing the last six months.
11                   MR. KUTNICK: Your Honor, just to respond to that, I
12       didn't even look at my previous motion, but I just looked in
13       my calendar to see what I've been doing. So --
14                   THE COURT: Well, I looked at your motion, and I
15       looked at the transcript.
16                   MR. KUTNICK: Your Honor, I have -- I am a busy
17       attorney. We're all busy attorneys, I understand that. This
18       case is more complex than any other case that I was appointed
19       on last year, or the year before. It is the only financial
20       case that I've been appointed on. It being a financial case,
21       it is not in the realm of -- well, there are elements that
22       are not what I do most of, which are more common criminal
23       types of cases.
24                   So I have been diligent, your Honor. I've
25       interviewed extensive -- well, three forensic accountants.
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 1       One we went the distance with where we tendered him extensive
 2       discovery, I had numerous phone conferences with him, we
 3       brought him into the office to sit down with myself and
 4       Mr. Meza.
 5                   THE COURT: In October.
 6                   MR. KUTNICK: Yes, your Honor, but we had to -- we
 7       talked to two others in the meantime to determine whether or
 8       not -- who would be appropriate. And we don't want to drop
 9       all the discovery on somebody until they've said, okay, yes,
10       I'd like to take a look at this, I'm willing to consider
11       doing it.
12                   Your Honor, I understand the court's position, and
13       I, in a way, like I said, was reluctant to file this motion.
14       But I have a duty to present Mr. Meza's defense. He has
15       presented me with lots and lots and lots of documents that I
16       am currently going through.
17                   THE COURT: Well, he should have presented you with
18       those documents a long, long time ago. The fact that he
19       decides to give them to you a month before trial.
20                   MR. KUTNICK: Well, he has provided me with lots of
21       material throughout the entire past year, your Honor. But
22       there were just more that I received recently. I did tender
23       a disk to the government yesterday, which I still have not
24       yet determined whether or not those items are relevant or
25       admissible, or whether I would choose to use them.
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 1                   THE COURT: And what is this trial that you say you
 2       have set in the circuit court? What is the case number on
 3       it?
 4                   MR. KUTNICK: Did I put -- I did not put it in my
 5       motion?
 6                   THE COURT: No.
 7                   MR. KUTNICK: Well, your Honor, I actually have to
 8       update you on that because, just yesterday, that trial was
 9       continued. That is the Daniel Martinez case. And I can
10       certainly provide the court with that case number.
11                   THE COURT: Well, it was continued? When was it
12       continued to?
13                   MR. KUTNICK: It was continued to January 23rd.
14                   THE COURT: Well, then, that shoots -- I mean, the
15       only possibility that I was willing to consider continuing
16       this is if I could do it -- if you people were going to be
17       free right then or the very beginning of February.
18                   MR. KUTNICK: I would be able to do that, your
19       Honor. It's a three-day jury trial. I'm very prepared for
20       it as it is. The state's necessary witness was not
21       available. That's the only reason that that case was
22       continued.
23                   THE COURT: And otherwise -- okay, you had told me
24       before that you had already filed your appeal in your state
25       case. And now you seem to be indicating that, well, this
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 1       reply took long -- you would have known that there was a
 2       reply when you decided that you could be ready in November.
 3       So, otherwise, you had said you had two other trials. I
 4       don't know if they took place, or not.
 5                   MR. KUTNICK: In this motion, your Honor?
 6                   THE COURT: No, I'm looking at the motion that you
 7       filed way back in May.
 8                   MR. KUTNICK: Because I don't have that in front of
 9       me, Judge. If you could just tell me the names, I will tell
10       you whether or not those cases proceeded to trial.
11                   THE COURT: You didn't tell me names. You told me
12       that you had, at the time, you said you had three other cases
13       set for trial over the next two months.
14                   MR. KUTNICK: Your Honor, I would have to look in my
15       schedule to tell you what those were and whether or not
16       they've proceeded. I have tried several cases over the last
17       six months. Jury trials, bench trials. The reply brief that
18       you're talking about was extremely extensive, your Honor. It
19       involved a police officer charged with child pornography. It
20       had --
21                   THE COURT: All right. But this wasn't something
22       that you didn't have factored into your schedule. It doesn't
23       sound like any of these were things that you didn't have
24       factored into the schedule when you said you could be ready
25       in November.
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 1                   What is the government's position?
 2                   THE GOVERNMENT: You Honor, we're ready to go -- we
 3       will be ready to go to trial on December 3rd, and we would
 4       like to go to trial on December 3rd. The victims in this
 5       case have expressed sort of concern that the matter has
 6       dragged on for so long, and it is approaching two years. So
 7       I appreciate Mr. Kutnick's concerns, but on behalf of the
 8       victims I feel obliged to request that we keep the trial
 9       date.
10                   I also have -- the government attorneys, although
11       obviously we're fungible at the end of the day. Judge, I
12       have conflicts in February, March and June as well that might
13       make scheduling any continuance difficult if you --
14                   THE COURT: Okay. You know, you -- I'm glad the
15       one that you had set at the end of this month was continued.
16       I'm going to keep the trial date. You've had just a huge
17       amount of time to prepare, and I think this is just an effort
18       to delay it. So we'll go to trial. Okay. Thank you.
19                   MR. KUTNICK: Your Honor, we also had the motion
20       for extension of time to file motions in limine?
21                   THE COURT: How much of an extension did you want?
22                   MR. KUTNICK: Well, the deadline was I believe last
23       Friday, if I am not mistaken, the 2nd.
24                   MR. YOUNG: Yes.
25                   MR. KUTNICK: I would ask for another two -- two
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 1       weeks from last Friday. So a week from Friday.
 2                   THE COURT: Okay. All right. We have --
 3                   MR. KUTNICK: That would be the 16th?
 4                   THE COURT: Pardon me?
 5                   MR. KUTNICK: 16th? Or, I'm sorry, 23rd.
 6                   THE COURT: Of November?
 7                   MR. KUTNICK: Correct. For filing the motions in
 8       limine.
 9                   THE COURT: Well, we can do that.
10                   MR. KUTNICK: Although, we have the pretrial
11       conference -- I think I can have them filed prior to the
12       pretrial conference of November 19th, your Honor.
13                   THE COURT: Okay. I mean, we could move the
14       pretrial conference by a couple of days. But, yes, motions
15       in limine really ought to be before the pretrial conference.
16                   MR. KUTNICK: Right.
17                   THE COURT: Okay. We will keep that date too.
18                   MR. KUTNICK: Okay, Judge. I think I can have that
19       done by then. Thank you.
20                   Judge, Mr. Meza is indicating he wanted to say
21       something to the court.
22                   THE DEFENDANT: Your Honor, with all the respect to
23       you, I've been working with Mr. Kutnick on this for a long
24       time, and for some reason this seems to be like the -- the
25       evidence they have, that the government has is volume, it's a
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 1       large quantity, sometimes not pertaining to the case. And
 2       for me to say that, like, government has, like, since 2015,
 3       have been investigating on all this to present, it's kind of
 4       unreasonable for him to go through -- it's a one-man team
 5       with a half a clerk working on several cases, including this
 6       case. It has got a lot of quantities. My job -- I want also
 7       to be done, to get this over with. But, for me, I believe in
 8       my mind that he still may not be ready to trial this case on
 9       the time that he is doing so. And, you know, and the amount
10       of -- for me, there is also -- my understanding is that the
11       government gets paid, like, about $10,000, or allocates so
12       much money for funds to represent me in this matter. So my
13       family is also considering bringing a lawyer willing to pay
14       to trial this case because I'm also -- I'm interested in
15       presenting my defense.
16                   THE COURT: Well, you certainly had plenty of time
17       to prepare.
18                   THE DEFENDANT: Like I said --
19                   THE COURT: And in terms of some of the things, I
20       had asked you so many months ago, I can't remember when it
21       is, I'd have to look it up, to file a supplementary financial
22       affidavit, if that was appropriate. You don't get to wait
23       until the eve of trial when trial -- first place, I've put
24       off setting a trial for a long time, and then I continued it
25       last May, and that's just not the way this court or federal
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 1       courts work.
 2                    THE DEFENDANT: Okay.
 3                    THE COURT: It's not fair to everybody else. We
 4       can't work that way.
 5                    THE DEFENDANT: Okay.
 6                    THE COURT: Okay. Thank you.
 7             (Which were all the proceedings heard.)
 8                                      CERTIFICATE
 9             I certify that the foregoing is a correct transcript
10       from the record of proceedings in the above-entitled matter.
11
12       /s/ SANDRA M. MULLIN                              November 6, 2019
13       SANDRA M. MULLIN, CSR, RMR, FCRR
         Official Court Reporter
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